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IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT
OF VIRGINIA

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MARK LOWE 1489162 [ L E
Lunenburg Correctional Center ann
690 Falls Road DEG 28 ec
Victoria, Va 23974

ee CLERK, U.§. DISTRICT COURT
Plaintiff, RIGHMOND, VA

v. Case Action No: 3:20cev390

Harold Clarke - Director

Department of Corrections

by counsel

Mark Hearing Commonwealth Attorney
202 North 9th Street

Richmond, Va 23219

Defendants,

Major David Hamlett
Baskerville Correctional Center
4150 Hayes Mill Road
Baskerville, Va 28915
Defendants,

PARTICULARIZED COMPLAINT FOR CIVIL ACTION

Comes Now, Mark Lowe, Pro Se, and pursuant to 42 U.S.C. §§1983|with a
complaint of cruel or unusual treatment and violations of prisoner's 8th and 14th
Amendment rights under the Constitution of the United States. The petitioner
also asserts a violation of the Americans with Disabilities Act Title [IT 42 U.S.C.
§§12131 and in support asserts two or more employees of the Department of
Corrections subjected Mark Lowe to the deprivation of rights through cruel and
unusual treatment at Baskerville Correctional Center. (1) The petitioner
identifies Major David Hamlett as a Defendant. Major Hamlett is the Chief of
Security at Baskerville Correctional Center. Major Hamlett authorized
Department of Corrections Officers to act unlawfully at the working location of

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Baskerville Correctional Center. (2) The petitioner identifies Harold
second Defendant. Harold Clarke is the Director of the Department q
of Virginia. Harold Clarke is the proper person to serve and charge w
discrimination under 42 U.S.C. §§2000e-16(c)

FACTS:

The petitioner, Mark Lowe, moves the court to review the following f;
allegations under the objective standard established in Rhodes v. Ch
U.S. 337, 347-49(1981). The petitioner asserts conditions implemente
Baskerville Corrections Center are sufficiently serious deprivation at
Virginia Department of Corrections Officials acted with a sufficiently
state of mind.

1. Mark Lowe is a prisoner of Virginia and currently incarcerated in
Correctional Center 690 Falls Road Victoria, Va 23974.

2. Mark Lowe has a protected liberty and interest in basic human ne
clothing, medical care, and reasonable safety as well as warmth and
citing Wilson v. Seiter, 501 U.S. 294, 297-303(1991)

3. Under the color of law, Major David Hamlett, subjected and/or cau
Lowe to be subjected to deprivation of rights protected under the 8th
Amendment of the United States.

4. The Eighth Amendment of the United States Constitution protects

from cruel and unusual treatment while incarcerated in Virginia. citi

Finney, 437 U.S. 678, 685 (1978)

5. Major David Hamlett knowingly and willfully implemented five co

deprivation and suffering in violation of Virginia code or law prohibit

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camps; also, in violation of the Virginia Department of Corrections policies and

procedures; and his actions were contrary to memoranda from Harol«
Director of Department of Corrections. The action includes the follow

incidents:

I. Major Hamlett knowingly issued an unlawful memorandum re

search and seizure of all blankets and protective clothing.

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II. Major Hamlet implemented sleep deprivation techniques and
24 hours per day in building 3A.

III. Major David Hamlett implemented sleep deprivation throug]
count procedures every two hours.

IV. Salt and basic quantities or qualities of food were discretiona
Baskerville Correctional Center.

V. Major Hamlett reduced exercise below the minimum mandata
of 1 hour per day.

6. Mark Lowe complied with the Prison Litigation Reform Act and ut
Virginia Department of Corrections internal grievance and arbitratic
the following dates: I) April 7, 2019; II) September 26, 2019; III) Nov

2019; IV) January 29, 2020; V) January 29, 2020: VI) February 6, 20:

March 3, 2020; VIII) March 9, 2020

7. Major David Hamlett and the Department of Corrections administ

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took the following five constructive acts of retaliation against the individual
prisoner Mark Lowe for the complaints of constitutional violations. The petitioner
moves the court to review retaliatory actions under the subjective standard for

obduracy and wanton indifference. citing - Wilson v. Seiter, 501 U.S.
303(1991)

I. On April 29, 2020, Major David Hamlett retaliated for civil rig,
complaints and denied Mark Lowe access to toilet paper. White pris
given toilet paper as needed or upon request. The Baskerville surve

retains an image of officers denying toilet paper to Mark Lowe at ci

April 29, 2020. The incident represents an institutional prank, physi
intimidation, systemic discrimination, and perversion.

II. On or about April 7, 2019, Lt. Thomas and Officer Crutchfield

Mark Lowe access to a diabetic meal. The Officers were implementin

retaliation and violating Title II of the Americans with Disabilities A

§§12131.
ITI. On November 11, 2019 Officer Jordan searched the living are

Lowe at or about 12:00 am. The search was a sleep deprivation tactic.
contraband has ever been discovered on Mark Lowe's person or in his

IV. Major Hamlett's denied access to outside exercise to prisoner |

for more than 45 consecutive days.

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A. The April 1, 2020 (Exhibit 50) does not allow Major Hamlett's ¢
staff to suspend outside exercise in response to the COVID -19 crises.

B. Major Hamlett violated the April 1, 2020 memorandum from H
and instructed his staff to reissue used or infected mask to prisoners.

C. Approximately 70% of the prison population became infected w
19 as a result of Major Hamlett's private war on prisoners.

D. The dorm areas were turned into human incubation zones for t
virus.

IV. The administrative staff denied Mark Lowe access to building 3B.
not practice sleep deprivation against prisoners in building 3B. An un
undocumented classification system was used to protect some prisone!
deprivation. The undocumented classification process violated Mark L
Amendment rights.
V. The staff retaliated against Mark Lowe and completed frequent sea
living area during non - standard times to force sleep deprivation. The
searched Mark Lowe's living area on March 3 and March 9 of 2020.

8. Major Hamlett's and administrative staff's actions are especially pe
juvenile, and depraved. Mark Lowe was the only prisoner denied acce

paper.

9. Major Hamlett demonstrated a lewd desire and aberrant inclinatio1
law and cause physical/psychological harm with wanton indifference.

EVIDENCE OF CHARACTER SUBMITTED UNDER FEDERAL RU]
EVIDENCE - RULE 404(2)

10. This court failed to issue an injunction upon request by the petitio

11. On or about July 31, 2020 Mark Lowe was assaulted in building 3;
the building Lt. Dove. The assault and malicious wounding broke the

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Lowe and was intended as physical intimidation. The assault compromised the

safety of Mark Lowe and was in retaliation for this civil action. The de
the injunction contributed to permanent injuries.

12. Mark Lowe has permanent injuries from the assault. The broken j
communicated a message of stay quiet. The incident represents an act

tampering and tampering with the judicial machinery. Mark Lowe mc

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to introduce the new evidence under Federal Rules of Evidence - Rule
Character Evidence; Crimes and Other Acts. (Exhibit 51)

18. For the health and safety of Mark Lowe, Joyceline Boone, Assistar
transferred Mark Lowe to Lunenburg Correctional Center on August

14. During the interim time of litigation, the Warden, Mr. Barksdale,
COVID-19. The health and status of Joyceline Boone is unknown.

15. Prior to 2020, the Baskerville staff initiated a false institutional ck
Mark Lowe. (BACC-INF- 0527). The charge was dismissed as false.

CIVIL RIGHTS VIOLATED

The courts have found an 8th Amendment violation when prisoners a1
"the minimal civilized measures of life's necessities such as food, warn
exercise. citing - Rhodes v. Chapman, 452, U.S. 337, 347-49(1981). The
enforced the standard in Williams v. Griffin, 952 F.2d 820, 825-26(4th
Major Hamlett and the Baskerville staff violated the law. Harold Clar
responsibility to correct or remove Major Hamlett from the position. A
the Virginia Department of Corrections, Harold Clarke received notice
Amendment violations through the internal Department of Correction
arbitration process.

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16. The petitioner, Mark Lowe, asserted violations of his 8th Amendment rights by

Major David Hamlett in Facts #5.

I. Major Hamlett and the Department of Corrections staff enga
pattern of harassment and discrimination represented by the in
grievances in the Appendix. (Exhibit 1-51). The staff violated th
14 Amendment rights.

II. After corrective action by Supervisory staff, Major Hamlett
and start the same prohibited action on a later date.

III. Major David Hamlett's demeanor is the text book definition
indifference.

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IV. Major Hamlett and the Department of Corrections staff took constructive

action to deny access to the courts and prevent litigation related

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District Court 3:17cv292 and this case.

17. Major David Hamlett authorized his staff to implement frequent s

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arches of

Mark Lowe's property. (Facts #8) The 8th Circuit Courts have found that frequent
cell searches for the purpose of harassment are not frivolous. citing Scher v.

Engelka, 943 F.2d 921, 923-24(8th Cir. 1991)

18. The courts consider 8th Amendment violations as less then] hour of outside
exercise per day. The modifications to outside exercise schedules were not

temporary and were not related to. COVID-19. Major David Hamlett
staff to deny outside exercise to prisoners for more than 45 consecutiv
(Fact#5, 6)

uthorized his
e days.

19. Warden, Barksdale, death may be related and/or contributed to the conditions at

Baskerville Correctional Center. (Fact # 5,6,)

20. The denial of access to blankets and protective clothing during a p
cruel and unusual. The actions of Major David Hamlett include "the w
unnecessary infliction of pain." - citing Rhodes v. Chapman, 452, U.S.
49(1981). The incident involves a violation of the 8th and 14th Amend

21. There is no legitimate penological need for requiring prisoners to g
and psychological harm. Keenon v. Hall, 83 F.3d 1083, 1091 (9th Cir.

staff violated Mark Lowe's rights under the 8th and 14th Amendment.

22. The Director, Harold Clarke, failed to provide corrective action an
Baskerville Correctional Staff. (Fact # 1-19) The 802.1 Dept of Correct
and procedure requires the administrative staff to provide a minimur
per prisoner.

23. When, Major Hamlett and his staff denies access to diabetic mea!

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protective clothing, toilet paper, and/or other basic needs they violate the

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Americans with Disabilities Act, the 8th Amendment and the 14th Amendment to
the United States Constitution. The cumulative effect of infringement upon
prisoners’ rights created this case. The 4th Circuit Court of Appeals has found
actions similar to Hamlett's to be 'discrimimation,’ citing - Constantine v. George
Mason University, 411 F.3d 474, 498 (4th Cir. 2005). The Director, Harold
Clarke, is obligated to 'to make reasonable modifications." However,|the
Department of Corrections failed to take corrective action.

PRAYER FOR RELIEF

This court has jurisdiction to grant relief under Title IT of the Americans with
Disabilities Act 42 U.S.C. §§ 12131. The court has jurisdiction to grant relief
under 42 U.S.C. §§ 1983. The petitioner request 5 Million dollars in compensatory
and punitive damages. The petitioner request 50,000 dollars in punitive and
compensatory damages for denial of toilet paper. The petitioner moves the court
for a declaration judgment pursuant to 28 U.S.C. 2201. The petitioner request copy
cost, postage fees, and legal fees.

JURISDICTION

The petitioner, Mark Lowe, is housed in Lunenburg Correctional Center at 690
Falls Road Victoria, Va 23974. The Commonwealth of Virginia has sentenced the
petitioner to a twelve-year prison sentence. The violations occurred in Baskerville
Virginia and have continued at Lunenburg Correctional Center. This court has
jurisdiction to review the complaint under 28 U.S.C. §§ 1331 and §§ 13438. This
court has jurisdiction to review the complaints under 42 U.S.C. §§1983. This court
has jurisdiction to award relief under 42 U.S.C. §§12131. This court has
jurisdiction to issue a declaration judgment pursuant to 28 U.S.C. §§2201.

History

Mark Lowe is incarcerated in Virginia and forced to live in level II dorms. Major
David Hamlett opportunistically manipulated the COVID - 19 crises} Major
Hamlett used the crises as an opportunity to implement unlawful living
conditions at Baskerville Correctional Center. Harold Clarke, Director of the
Department of Corrections failed to take corrective action prior to the initiation of

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this civil action or the collateral death of staff. Prior to his incarceration, Mark
Lowe was a security analyst for the Department of Defense. The Virginia
Department of Corrections applied force to insure silence during the election year.
Since 2012, Mark Lowe asserted conservatives were working with foreign agents
to disrupt the elections. Mark Lowe has been denied meaningful access to the
court. A criminal complaint is pending against staff and prisoners who assaulted
Mark Lowe.

Wherefore, Mark Lowe, Pro Se, moves the court to grant the relief requested and
any other appropriate remedies.

Mark Lowe 1489162
Lunenburg Correctional Center
690 Falls Road

Victoria, Via 23974

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